                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION .




 UNITED STATES OF AMERICA                     )
                                          )
                v.                            )       INDICTMENT
                                              )
 DEANDRE LAMONT MILES                         )
   a/k/a "DD"                                 )
 TERRY LOUIS KEARNEY                          )

       The Grand Jury charges that:

                                     COUNT ONE

       Beginning in or about 2017, the exact date being unknown to the Grand Jury,

and continuing up to and includlng December 18, 2018, in the Eastern District of

North Carolina, DEANDRE LAMONT MILES, also known as "DD", and TERRY

LOUIS. KEARNEY, defendants herein, did combine, conspire, confederate, agree, and

have a tacit understanding with other persons, known and unknown to the Grand

Jury, to knowingly and intentionally distribute and possess with the intent to

distribute a mixture and substance containing a detectable amount of heroin, a
                                                  .            .
Sch~dule I   controlled substance, and a mixture and substance containing a detectable

amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (fentariyl), a

Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(l).




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            Quantity of Controlled Substance Involved in the Conspiracy

       With respect to the defendant, DEANDRE LAMONT MILES, also known as

"DD," the amount involved in the conspiracy attributable to him as a result of his own

conduct, and the conduct of other conf:?pirators reasonably foreseeable to him, is one-

hundred (100) grams or more of a mixture and substance containing a detectable

amount of heroin, Schedule I controlled substance, and four-hundred (400) grams or

more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-

(2-phenylethyl)-4-piperidinyl] propanamide (fentanyl), a Schedule II controlled

substance, in violation of Title 21, UJ;1ited States Code, Sections 841(b)(l)(A) and (B).

      With respect to the defendant, TERRY LOUIS KEARNEY, the amount

involved in the conspiracy attributable. to him as a resµlt of his own conduct, and the

conduct of other conspirators reasonably foreseeable to him, is one-hundred (100)

grams or more of a mixture and substance containing a detectable amount of heroin,

Schedule I controlled substance, in violation .of Title 21, United States Code, Section

841(b)(l)(B).

      All in violation of Title 21, United States Code, Section 846.

                                    COUNT TWO

      On or about October 26, 2018, in the Eastern District of North Carolina:, the

defendant, TERRY LOUIS KEARNEY, did knowingly and intentionally possess with

the intent to distnbute one-hundred (100) grams or more of a mixture and substance

containing a detectable amount of heroin, Schedule I controlled substance, in

violation of Title 21, United States Code, Section 841(a)(l).



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                                        COUNT THREE

           On or about October 26, 2018, in the Eastern District of North Carolina, the

     defendant, TERRY LOUIS KEARNEY; did knowingly possess a firearm in

     furtherance of a drug trafficking crime for which he may be prosecuted in a court of

     the United States, as charged in Count Two of this Indictment, in violation of Title

     18, United States Code, Section 924(c)(l)(A).

                                        COUNT FOUR

           On or about October 26, 2018, in the Eastern District of North Carolina, 'the

     defendant, TERRY LOUIS KEARNEY, having been convicted of a crime punishable

     by imprisonment for a term exceeding one (1) year, did knowingly possess, in and

     affecting commerce, a firearm, in violation of Title 18, United States Code, Sections

     922(g)(l) and 924. ·

                                         COUNT FIVE

           On or about December 18, 2018, in the Eastern District of North Carolina, the·

     defendant, DEANDRE LAMONT MILES, also known as "DD", did knowingly and

     intentionally possess with the intent to distribute four-hundred (400) grams or more

     of a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-

     phenylethyl)-4-piperidinyl] propanamide (fentanyl), a Schedule II controlled

     substance, in violation of Title 21, United States Code, Section 841(a)(l).




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                                               · FORFEITURE NOTICE

               The defendant is given notice that pursuant to the provisions of Title 21,

         United States Code, Section 853 and Title 18, United States Code, Section 924(d), the

         latter as made applicable by Title 28, United States Code, Section 2461(c), all of the

         defendant's interest in all property specified herein is subject to forfeiture.

               Upon conviction of the offenses set forth in Count One, Two, and Five, the
                           '
         defendants shall forfeit to the United States any property constituting, or derived

         from, any proceeds obtained, directly or indirectly, as a resul.t of the said offenses and

         any property used, or intended to be used, in any manner or part, to commit, or to

         facilitate the commission of the said offense.

               Upon conviction of the offenses set forth m Counts Three arid Four, the

         defendant shall forfeit to the United States any and all firearms or ammunition

         involved in or used in a knowing commission of the said offenses.

               The forfeitable property includes, but is not limited to, the following:

                     (a)         $1,374.00 in United States Currency;

                     (b)         One Kahr .45 caliber handgun, model CW45, bearing s/n SG4490,

               and any and all ammunition.

               If any of the above-described forfeitable property, as a result of any act or

         omission of a defendant --

               (1)         cannot be located upon the exercise of due diligence;

               (2)             has been transferred or sold to, or deposited ~ith, a third party;

               (3)         has been placed beyond the jurisdiction of the court;



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           (4)     has been substantially.diminished in value; or

           (5)     has been commingled with other proi,:>erty which cannot be divided

                   without difficulty;

     it is the intent of the United States, pursuant to Title 21, United States Code, Section

     853(p), to seek forfeiture of any other property of said defendant up to the value of

     the forfeitable property described above .

                                         A TRUE BILL:


                                         FOREPERSON

                                         DATE: . ff JJff?v 'k;;'f




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